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 1   PAUL G. CEREGHINI
     Nevada Bar No. 10000
 2   JEFFREY C. WARREN (Admitted Pro Hac Vice)
     JESSICA E. BROWN
 3   Nevada Bar No. 14487
     BOWMAN AND BROOKE LLP
 4   Suite 1900, Phoenix Plaza
     2929 North Central Avenue
 5   Phoenix, Arizona 85012-2761
     (602) 643-2300 (Telephone)
 6   (602) 2480947 (Facsimile)
     paul.cereghini@bowmandbrooke.com
 7   jeffrey.warren@bowmandbrooke.com
     jessica.brown@bowmandbrooke.com
 8   Minute Entries: mme@phx.bowmanandbrooke.com

 9   MARIO D. VALENCIA
     Nevada Bar No. 6154
10   ATTORNEY AT LAW, LLC
     40 S. Stephanie St., Ste. 201
11   Henderson, Nevada 89012
     (702) 384-7494 (Telephone)
12   (702) 384-7545 (Facsimile)
     valencia.mario@gmail.com
13
     Attorneys for Defendants Hyundai Motor America and Hyundai Motor Company
14

15                               UNITED STATES DISTRICT COURT

16                                    DISTRICT OF NEVADA

17   LAUREN L. LAVOIE, individually, LAUREN
     L. LAVOIE, as Guardian and Natural Parent of       No.: 2:22-cv-00628-GMN-MDC
18   L.S., a Minor,

19                  Plaintiff,                          STIPULATION AND ORDER TO DISMISS
                                                                 WITH PREJUDICE
20    vs.

21   HYUNDAI MOTOR AMERICA, a Foreign
     Corporation; HYUNDAI MOTOR COMPANY,
22   a Foreign Corporation; DOES I-X; ROES
     CORPORATIONS I-X; inclusive,
23
                    Defendants.
24

25          IT IS HEREBY STIPULATED by and between plaintiffs Lauren L. Lavoie and L.S. a minor,
26   by and through their counsel of record, Christiansen Trial Lawyers, and defendants Hyundai Motor
27   America and Hyundai Motor Company, by and through their counsel of record, Bowman and Brooke
28   LLP and Mario D. Valencia, Attorney at Law, LLC, that the above-captioned action shall be
                                                    1
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 1   dismissed with prejudice pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure.

 2   Each party shall bear their own attorneys’ fees and costs. The parties have resolved this matter in its

 3   entirety and request the Court to close the case with prejudice.

 4

 5   DATED this 31st day of March, 2025.                    DATED this 31st day of March, 2025.
 6   CHRISTIANSEN TRIAL LAWYERS                             BOWMAN AND BROOKE LLP
 7
     By: /s/Whitney J. Barrett, Esq._______________         By: /s/Jessica E. Brown, Esq. ___________
 8       Peter S. Christiansen, Esq. (Bar No. 5254)           Paul G. Cereghini (Bar No. 10000)
         R. Todd Terry, Esq. (Bar No. 6519)                   Jeffrey C. Warren (Pro Hac Vice)
 9       Whitney J. Barrett, Esq. (Bar No. 13662)             Jessica E. Brown (Bar No. 14487)
         710 South 7th Street, Suite B
         Las Vegas, Nevada 89101                              Suite 1900, Phoenix Plaza
10                                                            2929 North Central Avenue
11       Attorneys for Plaintiffs                             Phoenix, Arizona 85012-2761

12                                                            Mario D. Valencia (Bar No. 6154)
                                                              MARIO D. VALENCIA
13                                                            ATTORNEY AT LAW, LLC
                                                              40 S. Stephanie St., Ste. 201
14                                                            Henderson, Nevada 89012
15
                                                              Attorneys for Defendants Hyundai Motor
16                                                            America and Hyundai Motor Company

17

18

19                                                ORDER
20          This matter is DISMISSED WITH PREJUDICE and the Clerk is directed to close the case.
21          IT IS SO ORDERED.
22                     March 31
            DATED: ________________, 2025
23

24
                                                          UNITED STATES DISTRICT JUDGE
25                                                            GLORIA M. NAVARRO
26
27

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                                                      2
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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on the 31st day of March, 2025, I electronically transmitted the foregoing

 3   STIPULATION AND ORDER TO DISMISS WITH PREJUDICE to the Clerk’s Office using the

 4   CM/ECF System for filing thereby transmitting a Notice of Electronic Filing to all CM/ECF registrants:

 5          Peter S. Christiansen, Esq.
 6          R. Todd Terry, Esq.
            Whitney J. Barrett, Esq.
 7          Keely A. Chippoletti, Esq.
            CHRISTIANSEN TRIAL LAWYERS
 8          710 S. 7th St., Ste. B
            Las Vegas, NV 89101
 9          pete@christiansenlaw.com
10          tterry@christiansenlaw.com
            wbarrett@christiansenlaw.com
11          keely@christiansenlaw.com

12          Attorneys for Plaintiff
13
                                                         /s/Jeannette Felix
14
                                                         An employee of Bowman and Brooke LLP
15

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                                                     3
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Jeannette Felix


From: Whitney J. Barrett <wbarrett@christiansenlaw.com>
Sent: Friday, March 28, 2025 4:51 PM
To: Jess Brown <Jessica.Brown@bowmanandbrooke.com>
Cc: Jeannette Felix <Jeannette.Felix@bowmanandbrooke.com>
Subject: Re: 2025-03-27 Stipulation and Order to Dismiss (31579733.1).docx

Hi Jess,

You have my approval to submit this stipulation and order.

Thanks,

Whitney

Whitney J. Barrett
Attorney
Christiansen Trial Lawyers
710 South 7th Street
Las Vegas, NV 89101
Phone (702) 240-7979
Fax (866) 412-6992

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On Fri, Mar 28, 2025 at 2:36 PM, Jess Brown <Jessica.Brown@bowmanandbrooke.com> wrote:

           Whitney,

           Please see attached the Stipulation and Order to Dismiss as discussed. Please let me know if
           we have your permission to add your signature and file this with the Court.

           Kind regards,

           Jess

           Jessica E. Brown
           Associate
           +1 602-643-2411 | Jessica.Brown@bowmanandbrooke.com



           Note: This electronic mail is intended to be received and read only by certain individuals. It may
           contain information that is attorney-client privileged or protected from disclosure by law. If it has
           been misdirected, or if you suspect you have received this in error, please notify me by replying and
           then delete both the message and reply. Thank you.
                                                                1
